Case 1:20-cv-21029-BB Document 4 Entered on FLSD Docket 03/09/2020 Page 1 of 7



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 20-cv-21029-BLOOM/Louis

 DOUG LONGHINI,

         Plaintiff,

 v.

 JSJ REALTY HOLDINGS, INC.,

       Defendant.
 ________________________________/

      ORDER REQUIRING VERIFIED CERTIFICATE OF COUNSEL, SCHEDULING
            REPORT, AND CERTIFICATES OF INTERESTED PARTIES1

         THIS CAUSE is before the Court upon a sua sponte examination of the record. The

 Complaint alleges violations by the Defendant of the Americans with Disabilities Act (“ADA”),

 42 U.S.C. §§ 12181, et seq. Accordingly, it is ORDERED AND ADJUDGED as follows:


         Verified Certificate of Counsel

      1. On or before March 13, 2020, Counsel for Plaintiff shall file a verified statement

 reflecting:

         a. Whether or not counsel has conducted a search of case filings in the records of the

               Clerk of the United States District Court for the Southern District of Florida to ascertain

               whether Defendant or Defendant’s property has ever been sued prior to the filing of

               this suit for alleged violations for the same, similar, or any, violations of the ADA. If

               such a search was not made prior to filing suit, counsel shall conduct such a search of

               the records prior to responding to this order and indicate the results of such search.



 1
  The parties must not include Judge Bloom and the assigned U.S. Magistrate Judge as interested parties
 unless they have an interest in the litigation.
Case 1:20-cv-21029-BB Document 4 Entered on FLSD Docket 03/09/2020 Page 2 of 7
                                                               Case No. 20-cv-21029-BLOOM/Louis


        b. If there has been a prior suit of the nature referred to in the above paragraph, counsel

            shall state the present status of that litigation, pending, and, if not pending, the nature

            of the disposition (i.e., settlement, dismissal, other).

        c. If there was such litigation and it was disposed of by settlement, counsel shall furnish

            to the Court specific details of the settlement, including any agreement for attorney’s

            fees and costs, either known to him or her or ascertainable by him or her with

            reasonable inquiry. Copies of these documents shall be furnished with the response to

            this order. Counsel shall also inform the Court of whether Defendant (and/or property

            owned by Defendant and the subject matter of this suit) has complied with any

            settlement agreement and, if not, what actions Defendant must take to comply with the

            settlement agreement entered into in the prior litigation.

        d. Counsel shall state what efforts were taken by the parties to the prior litigation to

            enforce the terms of any settlement, agreement entered into in any prior litigation.

            Namely, counsel shall indicate whether the property owner made any of the necessary

            repairs to the property to try to bring it into compliance with the ADA, and, if not, what

            efforts the parties in the prior litigation have taken to enforce the settlement agreement

            entered into in that prior litigation.


        Joint Scheduling Report

    2. Within twenty-one (21) days of an appearance by a Defendant in this case, the parties

 shall prepare and file a joint scheduling report, as required by Local Rule 16.1. The joint scheduling

 report and proposed order shall include all information required by Local Rule 16.1(b)(2) and (3).

 In addition, at the time of filing the joint scheduling report, the parties, including governmental

 parties, must file certificates of interested parties and corporate disclosure statements that contain



                                                     2
Case 1:20-cv-21029-BB Document 4 Entered on FLSD Docket 03/09/2020 Page 3 of 7
                                                              Case No. 20-cv-21029-BLOOM/Louis


 a complete list of persons, associated persons, firms, partnerships, or corporations that have a

 financial interest in the outcome of this case, including subsidiaries, conglomerates, affiliates,

 parent corporations, and other identifiable legal entities related to a party (to the extent they have

 not already done so). Throughout the pendency of the action, the parties are under a continuing

 obligation to amend, correct, and update the certificates.

        Detailed Discovery Schedule: Local Rule 16.1(a) provides for a differentiated case

 management system based on the complexity of each case and the requirement for judicial

 involvement. It is the Court’s practice to set ADA cases on an expedited case track.

        •   Expedited track cases are relatively non-complex, require 1 to 3 days of trial, and
            between 90 and 179 days for discovery from the date of the scheduling order.

 If the parties believe that this case should be placed on a different track, the parties must set out

 the reasons justifying a more prolonged schedule.

        “The following factors [are] considered in evaluating and assigning cases to a particular

 track the complexity of the case, number of parties, number of expert witnesses, volume of

 evidence, problems locating or preserving evidence, time estimated by the parties for discovery

 and time reasonably required for trial, among other factors.” S.D. Fla. L.R. 16.1(a)(3).

        Fed. R. Civ. P. 26(b)(1) allows discovery regarding any nonprivileged matter that is

 relevant to any party’s claim or defense and proportional to the needs of the case, considering the

 importance of the issues at stake in the action, the amount in controversy, the parties’ relative

 access to relevant information, the parties’ resources, the importance of the discovery in resolving

 the issues, and whether the burden or expense of the proposed discovery outweighs its likely

 benefit. The parties shall participate in good faith in developing a detailed discovery plan,

 including any agreed-upon limitation on scope, frequency and the extent of discovery. The parties

 shall include in their scheduling report any unique discovery matters, including any electronically



                                                   3
Case 1:20-cv-21029-BB Document 4 Entered on FLSD Docket 03/09/2020 Page 4 of 7
                                                             Case No. 20-cv-21029-BLOOM/Louis


 stored information that should be preserved and accessed. The parties shall establish a detailed

 schedule for the preservation, disclosure and access of each different type or category of

 electronically stored information.

        Consistent with the differentiated case management system, other relevant local rules (such

 as Local Rule 16.2, regarding mediation), and the twin goals of expeditious and attentive case

 management, the Court anticipates the following scheduling deadlines in the run of cases:

            •   Selection of a mediator and scheduling of a time, date and place for mediation
                within 30 days of the scheduling order.
            •   Deadline to amend pleadings and join parties within 60 days of the scheduling
                order.
            •   Completion of all discovery consistent with the case management track guidelines,
                and 120 days prior to trial.
            •   Completion of mediation prior to the deadline for dispositive pre-trial motions.
            •   Deadline for dispositive pre-trial motions and Daubert motions (which include
                motions to strike experts) 100 days prior to trial.
            •   Deadline for submission of joint pre-trial stipulation, proposed jury instructions and
                verdict form, or proposed findings of fact and conclusions of law, as applicable, 40
                days prior to trial.
            •   Calendar call one week prior to trial.

 Those deadlines are not exhaustive of deadlines which may be set in the scheduling order.

        The parties should address their joint scheduling report and their proposed pre-trial

 deadlines both to the differentiated case management system and to the Court’s anticipated

 deadlines. The parties are encouraged to explain their proposed deadlines in light of those

 overarching guidelines, including as to the factors listed in Local Rule 16.1(a)(3). The parties are

 cautioned that if they fail to submit a joint scheduling report by the applicable deadline, the

 Court may unilaterally set this case on a case management track in accordance with Local

 Rule 16.1(a) and calculated as if the scheduling report had been timely filed.

        As part of the joint scheduling report, the parties shall jointly complete and file with the



                                                  4
Case 1:20-cv-21029-BB Document 4 Entered on FLSD Docket 03/09/2020 Page 5 of 7
                                                                Case No. 20-cv-21029-BLOOM/Louis


 Court the Election to Jurisdiction by a United States Magistrate Judge for Final Disposition of

 Motions appended to this Order at Attachment A. The Court will not accept unilateral

 submissions. A “Yes” should be checked only if all parties agree. If the parties consent to a full

 disposition of the case by the Magistrate Judge, including trial and entry of final judgment, the

 parties shall jointly file the Election to Jurisdiction form appended to this Order as Attachment

 B. The parties are advised that even if they do not consent to jurisdiction by the Magistrate Judge,

 in accordance with 28 U.S.C. § 636(b), the Court may still refer motions to the Magistrate Judge

 for a report and recommendations.

         The parties are advised that the failure to comply with any of the procedures contained in

 this Order or the Local Rules may result in the imposition of appropriate sanctions, including,

 but not limited to, the dismissal of this action or entry of default.

         DONE AND ORDERED in Chambers at Miami, Florida, on March 6, 2020.




                                                            _________________________________
                                                            BETH BLOOM
                                                            UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




                                                    5
Case 1:20-cv-21029-BB Document 4 Entered on FLSD Docket 03/09/2020 Page 6 of 7



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               Case No. 20-cv-21029-BLOOM/Louis

 DOUG LONGHINI,

        Plaintiff,

 v.

 JSJ REALTY HOLDINGS, INC.,

       Defendant.
 ________________________________/

               ELECTION TO JURISDICTION BY A UNITED STATES
            MAGISTRATE JUDGE FOR FINAL DISPOSITION OF MOTIONS

        In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to the
 above-captioned civil matter hereby jointly and voluntarily elect to have a United States Magistrate
 Judge decide the following motions and issue a final order or judgment with respect thereto:
        1. Motions for Costs                          Yes _____ No _____
        2. Motions for Attorney’s Fees                Yes _____ No _____
        3. Motions for Sanctions                      Yes _____ No _____
        4. Motions to Dismiss                         Yes _____ No _____
        5. Motions for Summary Judgment               Yes _____ No _____



 ____________           ____________________________________________
 (Date)                 (Signature—Plaintiff’s Counsel or Plaintiff if pro se)



 ____________           ____________________________________________
 (Date)                 (Signature—Defendant’s Counsel or Defendant if pro se)

                                           Attachment A
Case 1:20-cv-21029-BB Document 4 Entered on FLSD Docket 03/09/2020 Page 7 of 7



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              Case No. 20-cv-21029-BLOOM/Louis

 DOUG LONGHINI,

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 ________________________________/

                     MAGISTRATE JUDGE JURISDICTION FOR TRIAL

        In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to the
 above-captioned civil matter hereby jointly and voluntarily elect to have a United States Magistrate
 Judge conduct any and all further proceedings in the case, including TRIAL, and entry of final
 judgment with respect thereto.



 ____________           ____________________________________________
 (Date)                 (Signature—Plaintiff’s Counsel or Plaintiff if pro se)



 ____________           ____________________________________________
 (Date)                 (Signature—Defendant’s Counsel or Defendant if pro se)




                                           Attachment B
